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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

 PATRICIA PRATT,
                                               Case No. 2:17-cv-00371-DCN
                     Plaintiffs,
                                               ORDER OF DISMISSAL
        v.

 LVNV FUNDING, LLC, a Delaware
 Limited Liability Company, and
 SUTTELL & HAMMER, P.S., a
 Washington Corporation,

                     Defendants.


  Based upon the Plaintiff’s Notice of Voluntary Dismissal (Dkt. 3), IT IS HEREBY

ORDERED that:

  1. This action is DISMISSED WITH PREJUDICE.

  2. Each party will bear their own costs and attorney’s fees.


                                               DATED: November 6, 2017


                                               _________________________
                                               David C. Nye
                                               U.S. District Court Judge




ORDER OF DISMISSAL - 1
